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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION
IN RE:
                                                    CASE NO.:          14-14698-LMI
IRIS MILAGROS ORTIZ,                                CHAPTER:           13
JOSE RUBEN ORTIZ,

            Debtors.
__________________________/

                      MOTION TO ALLOW LATE PROOF OF CLAIM

       Deutsche Bank Trust Company Americas, as Trustee for Residential Accredit
Loans, Inc., Mortgage Asset-Backed Pass-Through Certificates Series 2006-QS8,
(“Creditor”), its successors and/or assigns, a secured creditor in the above-styled cause, hereby
moves this Court to allow the filing of a late claim and as grounds:
   1. Creditor holds a secured mortgage loan on property owned by Debtor, located at 1655 W.
44th Place, Hialeah, FL 33012, more particularly described as follows:
       CONDOMINIUM UNIT NO. 237, OF EL SOL CONDOMINIUM, A
       CONDOMINIUM, ACCORDING TO THE DECLARATION THEREOF, AS
       RECORDED IN OFFICIAL RECORDS BOOK 21928, AT PAGE 4422, OF THE
       PUBLIC RECORDS OF MIAMI DADE COUNTY, FLORIDA.

       AKA: 1655 W. 44th PL, APT 237, HIALEAH, FL 33012 (the “Subject Property”).

   2. On August 4, 2015, Debtors filed a Renewed Motion to Value and Determine Secured
Status of Lien of PNC MORTGAGE [DE#107] (the “Motion”), and in said Motion, the Debtors
state that the value of the subject property is $70,000.00.
   3. The Creditor and the Debtors have consented to value of the Subject Property at
$78,500.00, which shall be paid at 5.25%, amortized over sixty (60) months, with no balloon
payments.
   4. As such, allowing Creditor to file a late claim is in the Debtors’ best interest, because it
will allow the Debtors to take advantage of the bankruptcy in order to become current on their
obligations.
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   5. Creditor has filed this Motion in good faith. A copy of the Proof of Claim appears on
the Claims Register.
   6. Counsel for the Creditor has conferred with Counsel for the Debtor and the Debtor is in
agreement with the filing of this Motion.
       WHEREFORE, Deutsche Bank Trust Company Americas, as Trustee for
Residential Accredit Loans, Inc., Mortgage Asset-Backed Pass-Through Certificates Series
2006-QS8, prays that the Court Grant the Motion to file a late Proof of Claim.


                 CERTIFICATION PURSUANT TO LOCAL RULE 9011-4
       I HEREBY CERTIFY that I am admitted to the Bar of the United States Bankruptcy
Court for the Southern District of Florida, and I am in compliance with the additional
qualifications to practice in this Court set forth in the Local Rules.

                                                               By: /s/ Ashleigh C. McKenzie, Esq.
                                                               Ashleigh C. McKenzie, Esq.
                                                               Florida Bar No.: 123883
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via
electronic and/or Regular U.S. Mail to the parties listed on the attached service list, this 23rd day
of November, 2016.
                                                              Ashleigh C. McKenzie, Esq.
                                                              Albertelli Law
                                                              Attorney for Secured Creditor
                                                              PO Box 23028
                                                              Tampa, FL 33623
                                                              Telephone: (813) 221-4743
                                                              Facsimile: (813) 221-9171
                                                              Bkfl@albertellilaw.com

                                                              By: /s/ Ashleigh C. McKenzie, Esq.
                                                              Ashleigh C. McKenzie, Esq.
                                                              Florida Bar No.: 123883
SERVICE LIST
Iris Milagros Ortiz
13404 SW 153 Terrace
Miami, FL 33177

Jose Ruben Ortiz
13404 SW 153 Terrace
Miami, FL 33177

Daniel M Keil
6500 Cowpen Rd # 301
Miami Lakes, FL 33014

Trustee
Nancy K. Neidich
www.ch13herkert.com
POB 279806
Miramar, FL 33027

U.S. Trustee
Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130
